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       CERTAIN UNDERWRITERS AT LLOYD'S, LONDON, SYNDICATES 2623/623
                                    v.
    SOLUTIONS RECOVERY CENTER, LLC, DANIEL J. CALLAHAN, SEAN CALLAHAN,
                          and RICHARD GLASER




          EXHIBIT B
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   Effective date of this Endorsement: 17-Jun-2017
   This Endorsement is attached to and forms a part of Policy Number: W15F3F170401
   Syndicate 2623/623 at Lloyd's. Referred to in this endorsement as either the “Insurer” or the
   “Underwriters”




                                   FRONT PAGE TO POLICY



                            IMPORTANT NOTICE – FLORIDA

   SURPLUS LINES INSURERS’ POLICY RATES AND FORMS ARE NOT
   APPROVED BY ANY FLORIDA REGULATORY AGENCY.




    BSLMU05120809FL                                                                       Page 1 of 1
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MISCELLANEOUS MEDICAL PROFESSIONAL LIABILITY, GENERAL LIABILITY AND
ADVERTISING LIABILITY CLAIMS MADE AND REPORTED INSURANCE

DECLARATIONS

This is a Claims Made and Reported Policy. Except to such extent as may otherwise be provided
herein, the coverage afforded under this Insurance is limited to those Claims which are first
made against the Insured and reported during the Policy Period. Damages and Claims
Expenses shall be applied against the Deductible. Certain words and phrases which appear in
bold type have the special meaning agreed by the parties in Clause V., Definitions. Words with
capitalized first letters only shall have the further meaning provided in the Declarations or as the
context may require. Please review the coverage provided by this Insurance carefully and
discuss it with your insurance agent or broker.

These Declarations along with the completed and signed application and the Policy with
endorsements shall constitute the contract between the Named Insured and the Underwriters.

Underwriters:                          Syndicates 2623/623 at Lloyd's

Policy Number:                         W15F3F170401

Authority Ref. Number:                 B6012BUSANMSL1701

Item 1.     Named Insured: Solutions Recovery Center, LLC

            Address:
            6115 Lyons Road
            Coconut Creek, FL 33073

Item 2.     Policy Period:              From:     17-June-2017

                                        To:       17-June-2018
Both dates 12:01 a.m. Local Time at the Principal Address shown in Item 1.

Item 3.     Limit of Liability:

            (a) Each Claim                                              $1,000,000

            (b) Term Aggregate- all coverages combined                  $3,000,000

Item 4.     Deductible:

            Professional Liability Each Claim Deductible                $10,000

            General Liability Each Claim Deductible                     $10,000

Item 5.     Premium:

            a.    The premium paid in respect of the entire Policy Period




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            Plus taxes as applicable, which shall be payable in full at inception of this Insurance as
            designated in Item 2. of the Declarations

            Extended Reported Period:
            b.    Premium for Extended Reporting             c. Length of Extended Reporting
                  Period:                                       Period:
                  150% of the premium shown in 5.a.             One (1) Year
                  175% of the premium shown in 5.a.             Two (2) Years
                  200% of the premium shown in 5.a.             Three (3) Years

Item 6.     Retroactive Date:
            Coverage shall apply only to those Claims reported pursuant to the terms and
            conditions of the Policy arising out of Professional Services described herein and
            performed subsequent to the date below:
            17 June 2013

Item 7.     Service of Suit:
            Service of Suit upon the Underwriters pursuant to Clause XXIII. of the Policy may be
            made upon:
            Mendes & Mount, LLP
            750 7th Ave # 24
            New York, NY 10019

Item 8.     Notice of Election:

            Recipient of Notice of Named Insured's Cancellation:
            Beazley USA Services, Inc.
            30 Batterson Park Road
            Farmington, Connecticut 06032
            Tel: (860) 677-3700
            Fax: (860) 679-0247


            Recipient of Notice of Named Insured's intention to purchase Extended Reported Period
            Coverage and premium for Extended Reported Period Coverage:

            Beazley USA Services, Inc.
            30 Batterson Park Road
            Farmington, Connecticut 06032
            Tel: (860) 677-3700
            Fax: (860) 679-0247


Item 9.     Notice of Claim:
            Recipient of Notice of Named Insured's Claims or circumstance per Condition XI. of the Policy:
            Beazley Healthcare Claims


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           1270 Avenue of the Americas
           Suite 1200
           New York, NY 10020
           Tel: (646) 943-5900
           Fax: (646) 348-4039
           Email: healthcareclaims@beazley.com

Item 10. Scheduled Insureds/Physicians:
           None, unless listed by endorsement

Item 11. Scheduled Professional Services:
           Inpatient & Outpatient Adult Addiction Facility

Item 12. Choice of Law:
           Florida

Item 13. Endorsements Effective at Inception:

              1. NMA1256                  Nuclear Incident Exclusion Clause-Liability-Direct (Broad)
                                          (U.S.A.)
              2. NMA1477                  Radioactive Contamination Exclusion Clause-Liability-Direct
                                          (U.S.A.)
              3. NMA2918                  War and Terrorism Exclusion Endorsement
              4. E00861 032015 ed.        Premium Payment Warranty Endorsement
              5. E00985 032015 ed.        Retroactive Limitations Clause
              6. E01114 032015 ed.        Worldwide Coverage Endorsement
              7. E01122 032015 ed.        Minimum Earned Premium Endorsement
              8. E01762 062016 ed.        Fire Legal Liability Endorsement
              9. E02804 032011 ed.        Sanction Limitation and Exclusion Clause
              10. E02867 032015 ed.       Scheduled Locations/Facilities Coverage
              11. E05076 032015 ed.       Additional Insured Endorsement for Landlords, Sponsors or
                                          Lessors.
              12. E05809 032015 ed.       Medical Payments Extension
              13. E06900 032015 ed.       U.S. Terrorism Risk Insurance Act of 2002 as Amended Not
                                          Purchased Clause
              14. E08304 042016 ed.       Amend Sexual/Physical Misconduct Exclusion with Sublimit
              15. E09387 112016 ed.       Additional Named Insureds Subject to Retroactive Date and
                                          Termination Date
              16. BSLMU05120809FL         Important Notice - Florida
              17. SCHEDULE2017            Lloyd's Security Schedule 2017




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Dated:         20-July-2017

At:            30 Batterson Park Road
               Farmington, Connecticut 06032
               (the office of the Correspondent)   by
                                                        Beazley USA Services, Inc. (Correspondent)




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      Effective date of this Endorsement: 17-Jun-2017
      This Endorsement is attached to and forms a part of Policy Number: W15F3F170401


             NUCLEAR INCIDENT EXCLUSION CLAUSE-LIABILITY-DIRECT (BROAD) (U.S.A.)

   Miscellaneous Medical Professional Liability, General Liability and Advertising Liability Claims
   Made and Reported Insurance

      For attachment to insurances of the following classifications in the U.S.A., its Territories and
      Possessions, Puerto Rico and the Canal Zone:

      Owners, Landlords and Tenants Liability, Contractual Liability, Elevator Liability, Owners or
      Contractors (including railroad) Protective Liability, Manufacturers and Contractors Liability,
      Product Liability, Professional and Malpractice Liability, Storekeepers Liability, Garage Liability,
      Automobile Liability (including Massachusetts Motor Vehicle or Garage Liability),

      not being insurances of the classifications to which the Nuclear Incident Exclusion Clause-
      Liability-Direct (Limited) applies.

      This Policy* does not apply:

      I.      Under any Liability Coverage, to injury, sickness, disease, death or destruction:

              (a)    with respect to which an insured under the Policy is also an insured under a
                     nuclear energy liability policy issued by Nuclear Energy Liability Insurance
                     Association, Mutual Atomic Energy Liability Underwriters or Nuclear Insurance
                     Association of Canada, or would be an insured under any such policy but for its
                     termination upon exhaustion of its limit of liability; or

              (b)      resulting from the hazardous properties of nuclear material and with respect to
                     which (1) any person or organization is required to maintain financial protection
                     pursuant to the Atomic Energy Act of 1954, or any law amendatory thereof, or (2)
                     the insured is, or had this Policy not been issued would be, entitled to indemnity
                     from the United States of America, or any agency thereof, under any agreement
                     entered into by the United States of America, or any agency thereof, with any
                     person or organization.

      II.     Under any Medical Payments Coverage, or under any Supplementary Payments
              Provision relating to immediate medical or surgical relief, to expenses incurred with
              respect to bodily injury, sickness, disease or death resulting from the hazardous
              properties of nuclear material and arising out of the operation of a nuclear facility by any
              person or organization.

      III.    Under any Liability Coverage, to injury, sickness, disease, death or destruction resulting
              from the hazardous properties of nuclear material, if:

              (a)   the nuclear material (1) is at any nuclear facility owned by, or operated by or on
                    behalf of, an insured or (2) has been discharged or dispersed therefrom;
                    (b) the nuclear material is contained in spent fuel or waste at any time
                    possessed,
                    handled, used, processed, stored, transported or disposed of by or on behalf of
                    an insured; or

              (c)   the injury, sickness, disease, death or destruction arises out of the furnishing by
                    an insured of services, materials, parts or equipment in connection with the


    NMA1256                                                                                       Page 1 of 2
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                     planning, construction, maintenance, operation or use of any nuclear facility, but
                     if such facility is located within the United States of America, its territories or
                     possessions or Canada, this exclusion (c) applies only to injury to or destruction
                     of property at such nuclear facility.

      IV.      As used in this endorsement:

               "hazardous properties" include radioactive, toxic or explosive properties;

               "nuclear material" means source material, special nuclear material or by-product material;

               "source material", "special nuclear material", and "by-product material" have the
               meanings given them in the Atomic Energy Act 1954 or in any law amendatory thereof;

               "spent fuel" means any fuel element or fuel component, solid or liquid, which has been
               used or exposed to radiation in a nuclear reactor;

               "waste" means any waste material (1) containing by-product material and (2) resulting
               from the operation by any person or organization of any nuclear facility included within
               the definition of nuclear facility under paragraph (a) or (b) thereof;

               "nuclear facility" means:

               (a)     any nuclear reactor,

               (b)      any equipment or device designed or used for (1) separating the isotopes of
                       uranium or plutonium, (2) processing or utilizing spent fuel, or (3) handling,
                       processing or packaging waste,

               (c)     any equipment or device used for the processing, fabricating or alloying of
                       special nuclear material if at any time the total amount of such material in the
                       custody of the insured at the premises where such equipment or device is
                       located consists of or contains more than 25 grams of plutonium or uranium 233
                       or any combination thereof, or more than 250 grams of uranium 235,

               (d)     any structure, basin, excavation, premises or place prepared or used for the
                       storage or disposal of waste,
              and includes the site on which any of the foregoing is located, all operations conducted on
              such site and all premises used for such operations; "nuclear reactor" means any
              apparatus designed or used to sustain nuclear fission in a self-supporting chain reaction
              or to contain a critical mass of fissionable material. With respect to injury to or
              destruction of property, the word "injury" or "destruction" includes all forms of radioactive
              contamination of property.
              It is understood and agreed that, except as specifically provided in the foregoing to the
              contrary, this clause is subject to the terms, exclusions, conditions and limitations of the
              Policy to which it is attached.
   * NOTE: As respects policies which afford liability coverages and other forms of coverage in
   addition, the words underlined should be amended to designate the liability coverage to which this
   clause is to apply.




    NMA1256                                                                                      Page 2 of 2
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      Effective date of this Endorsement: 17-Jun-2017
      This Endorsement is attached to and forms a part of Policy Number: W15F3F170401


          RADIOACTIVE CONTAMINATION EXCLUSION CLAUSE-LIABILITY-DIRECT (U.S.A.)



      For attachment (in addition to the appropriate Nuclear Incident Exclusion Clause-Liability-Direct)
      to liability insurances affording worldwide coverage.

      In relation to liability arising outside the U.S.A., its Territories or Possessions, Puerto Rico or the
      Canal Zone, this Policy does not cover any liability of whatsoever nature directly or indirectly
      caused by or contributed to by or arising from ionising radiations or contamination by radioactivity
      from any nuclear fuel or from any nuclear waste from the combustion of nuclear fuel.




    13/2/64                                                                                        Page 1 of 1
    NMA1477
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   Effective date of this Endorsement: 17-Jun-2017
   This Endorsement is attached to and forms a part of Policy Number: W15F3F170401


                           WAR AND TERRORISM EXCLUSION ENDORSEMENT


      Notwithstanding any provision to the contrary within this insurance or any endorsement thereto it
      is agreed that this insurance excludes loss, damage, cost or expense of whatsoever nature
      directly or indirectly caused by, resulting from or in connection with any of the following regardless
      of any other cause or event contributing concurrently or in any other sequence to the loss;

      1.   war, invasion, acts of foreign enemies, hostilities or warlike operations (whether war be
           declared or not), civil war, rebellion, revolution, insurrection, civil commotion assuming the
           proportions of or amounting to an uprising, military or usurped power; or

      2.   any act of terrorism.

           For the purpose of this endorsement an act of terrorism means an act, including but not
           limited to the use of force or violence and/or the threat thereof, of any person or group(s) of
           persons, whether acting alone or on behalf of or in connection with any organisation(s) or
           government(s), committed for political, religious, ideological or similar purposes including the
           intention to influence any government and/or to put the public, or any section of the public, in
           fear.


      This endorsement also excludes loss, damage, cost or expense of whatsoever nature directly or
      indirectly caused by, resulting from or in connection with any action taken in controlling,
      preventing, suppressing or in any way relating to 1 and/or 2 above.

      If the Underwriters allege that by reason of this exclusion, any loss, damage, cost or expense is
      not covered by this insurance the burden of proving the contrary shall be upon the Assured.

      In the event any portion of this endorsement is found to be invalid or unenforceable, the
      remainder shall remain in full force and effect.




    08/10/01                                                                                      Page 1 of 1
    NMA2918
Case 0:18-cv-60839-CMA Document 5-2 Entered on FLSD Docket 04/18/2018 Page 11 of 52



   Effective date of this Endorsement: 17-Jun-2017
   This Endorsement is attached to and forms a part of Policy Number: W15F3F170401
   Syndicate 2623/623 at Lloyd's. referred to in this endorsement as either the “Insurer” or the
   “Underwriters”

                             PREMIUM PAYMENT WARRANTY ENDORSEMENT

   This endorsement modifies insurance provided under the following:

   Miscellaneous Medical Professional Liability, General Liability and Advertising Liability Claims
   Made and Reported Insurance
   In consideration of the premium charged for the Policy, it is hereby understood and agreed that:
   All premium due to the Underwriters under this Policy is paid within 30 Days from the inception date of the
   Policy. Non-receipt of such premium by midnight (local standard time) on the premium due date, shall
   render this Policy void from the inception date.


   All other terms and conditions of this Policy remain unchanged.




                                                                 __________________________________________
                                                                 Authorized Representative




    E00861                                                                                      Page 1 of 1
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Case 0:18-cv-60839-CMA Document 5-2 Entered on FLSD Docket 04/18/2018 Page 12 of 52



   Effective date of this Endorsement: 17-Jun-2017
   This Endorsement is attached to and forms a part of Policy Number: W15F3F170401
   Syndicate 2623/623 at Lloyd's. referred to in this endorsement as either the “Insurer” or the
   “Underwriters”

                                    RETROACTIVE LIMITATIONS CLAUSE

   This endorsement modifies insurance provided under the following:

   Miscellaneous Medical Professional Liability, General Liability and Advertising Liability Claims
   Made and Reported Insurance
   In consideration of the premium charged for the Policy, it is hereby understood and agreed that:
   There shall be no liability hereunder in respect of any Claim:
   (a)     arising out of any circumstance or occurrence which has been notified to the insurer of any other
           Policy of insurance, self insurance or trust effected prior to the inception of this Policy;
   (b)     arising out of any circumstance or occurrence known to the Insured prior to the inception hereof
           and not disclosed to the Underwriters at inception;
   (c)     arising out of any prior or pending litigation as of the inception of this Policy or derived from the
           same facts and/or circumstances alleged in such prior or pending litigation.


   All other terms and conditions of this Policy remain unchanged.




                                                                    __________________________________________
                                                                    Authorized Representative




    E00985                                                                                        Page 1 of 1
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   Effective date of this Endorsement: 17-Jun-2017
   This Endorsement is attached to and forms a part of Policy Number: W15F3F170401
   Syndicate 2623/623 at Lloyd's. referred to in this endorsement as either the “Insurer” or the
   “Underwriters”

                                 WORLDWIDE COVERAGE ENDORSEMENT

   This endorsement modifies insurance provided under the following:

   Miscellaneous Medical Professional Liability, General Liability and Advertising Liability Claims
   Made and Reported Insurance
   In consideration of the premium charged for the Policy, it is hereby understood and agreed that Clause III.
   TERRITORY of this Policy is deleted in its entirety and replaced with the following:
   III.    TERRITORY
   This insurance applies to Claims brought anywhere in the world arising out of negligent acts, errors or
   omissions or Accidents which take place anywhere in the world. Such Claims must be first made against
   the Insured during the Policy Period or Extended Reporting Period, purchased in accordance with
   Clause IX.




   All other terms and conditions of this Policy remain unchanged.




                                                                 __________________________________________
                                                                 Authorized Representative




    E01114                                                                                      Page 1 of 1
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   Effective date of this Endorsement: 17-Jun-2017
   This Endorsement is attached to and forms a part of Policy Number: W15F3F170401
   Syndicate 2623/623 at Lloyd's. referred to in this endorsement as either the “Insurer” or the
   “Underwriters”

                              MINIMUM EARNED PREMIUM ENDORSEMENT

   This endorsement modifies insurance provided under the following:

   Miscellaneous Medical Professional Liability, General Liability and Advertising Liability Claims
   Made and Reported Insurance
   In consideration of the premium charged for the Policy, it is hereby understood and agreed that if
   the Named Insured cancels this Insurance prior to reporting any Claim or circumstance under
   this Policy, 30% of the premium shall be deemed earned upon inception of the Policy, and the remaining
   earned premium shall be computed in accordance with the customary short rate table and procedure. If
   the Named Insured has reported a Claim or circumstance under this Policy the premium will be deemed
   to be fully earned.


   All other terms and conditions of this Policy remain unchanged.



                                                                __________________________________________
                                                                Authorized Representative




    E01122                                                                                    Page 1 of 1
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   Effective date of this Endorsement: 17-Jun-2017
   This Endorsement is attached to and forms a part of Policy Number: W15F3F170401
   Syndicate 2623/623 at Lloyd's. referred to in this endorsement as either the “Insurer” or the
   “Underwriters”

                                   FIRE LEGAL LIABILITY ENDORSEMENT

   This endorsement modifies insurance provided under the following:
   Miscellaneous Medical Professional Liability, General Liability and Advertising Liability Claims
   Made and Reported Insurance
   In consideration of the premium charged for the Policy, it is hereby understood and agreed that:
   1.      Clause I., INSURING AGREEMENTS is amended by the addition of the following:
                   Fire Legal Liability
           The Underwriters will pay on behalf of the Insured Damages and Claims Expenses which the
           Insured shall become legally obligated to pay because of any Claim or Claims for Property
           Damage to the premises, while rented to the Named Insured (designated in Item 1. of the
           Declarations) or temporarily occupied by the Named Insured with permission of the owner
           arising out of any one fire during the Policy Period or any applicable Extended Reporting
           Period, except as excluded or limited by the terms, conditions and exclusions of this Policy.
   2.      The Underwriters’ Limit of Liability for Damages and Claims Expenses resulting from Claims as
           respects Property Damage in regards to the Fire Legal Liability Coverage shall be $50,000 each
           and every Claim, which amounts shall be part of and not in addition to the Aggregate Limit of
           Liability set forth in Item. 3(b) of the Declarations. Solely with respect to any Claims for Fire
           Legal Liability, the Deductible of $10,000 applies separately for each and every Claim.
   3.      With respect to Fire Legal Liability coverage only, Clause IV. EXCLUSIONS 2. is amended by
           the addition of the following paragraph at the end thereof:
           Exclusions (h) and (i) do not apply to Property Damage to structures or portions thereof rented
           to or occupied by the Named Insured, including fixtures permanently attached thereto, if such
           Property Damage arises out of fire.
   4.      Clause IV. EXCLUSIONS 2. (h) is deleted and replaced with the following:
           (h)     to any Claim arising out of, or Occurrence involving Property Damage to:
                   (1)     property owned, rented or temporarily occupied by the Named Insured with
                           permission of the owner, including fixtures permanently attached thereto;
                   (2)     premises sold or abandoned by the Named Insured;
                   (3)     property loaned to the Named Insured
                   (4)     personal property in the care, custody or control of the Named Insured;
                   (5)     that particular part of real property on which the Named Insured or any
                           contractors or subcontractors working directly or indirectly on behalf of the
                           Named Insured or temporarily occupied by the Named Insured as to premises
                           rented to the Named Insured or temporarily occupied by the Named Insured
                           with permission of the owner if such Property Damage arises out of those
                           operations.




    E01762                                                                                      Page 1 of 2
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                     (6)    that particular part of any property that must be restored, repaired or replaced
                            because the Insured’s work was incorrectly performed on it.
                     Paragraph 1. of this Exclusion does not apply to Property Damage to premises rented
                     to the Named Insured or temporarily occupied by the Named Insured with permission
                     of the owner, if such Property Damage arises out of fire.
                     Paragraph 2. of this Exclusion does not apply if the premises are the Insured’s work and
                     were never occupied, rented or held for rental by the Named Insured.
                     Paragraphs 3, 4, 5. & 6. of this Exclusion does not apply to liability assumed under a
                     sidetrack agreement.
                     Paragraph 6. of this Exclusion does not apply to Property Damage included in any
                     Products/Completed Operations Liability Hazard coverage.
        5.   For purposes of coverage provided under this Endorsement, Clause X. OTHER INSURANCE is
             amended by the addition of the following:
             The insurance provided for Property Damage to the structures or portions thereof rented to or
             temporarily occupied by the Named Insured, including fixtures permanently attached thereto,
             where coverage is provided under Paragraph 1. above of this Endorsement, shall be excess
             insurance over any valid and collectible property insurance (including any deductible portion
             thereof) available to the Insured.
   6.        Under no circumstances will this coverage be extended to cover First Party Property Damage or
             Property Damage to personal property.


   All other terms and conditions of this Policy remain unchanged.



                                                                 __________________________________________
                                                                 Authorized Representative




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   Effective date of this Endorsement: 17-Jun-2017
   This Endorsement is attached to and forms a part of Policy Number: W15F3F170401
   Syndicate 2623/623 at Lloyd's. Referred to in this endorsement as either the “Insurer” or the
   “Underwriters”

                            SANCTION LIMITATION AND EXCLUSION CLAUSE

   This endorsement modifies insurance provided under the following:


   Miscellaneous Medical Professional Liability, General Liability and Advertising Liability Claims
   Made and Reported Insurance


   No (re)insurer shall be deemed to provide cover and no (re)insurer shall be liable to pay any claim or
   provide any benefit hereunder to the extent that the provision of such cover, payment of such claim or
   provision of such benefit would expose that (re)insurer to any sanction, prohibition or restriction under
   United Nations resolutions or the trade or economic sanctions, law or regulations of the European Union,
   United Kingdom or United States of America.




   All other terms and conditions of this Policy remain unchanged.




                                                                __________________________________________
                                                                Authorized Representative




    E02804                                                                                     Page 1 of 1
    032011 ed.
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   Effective date of this Endorsement: 17-Jun-2017
   This Endorsement is attached to and forms a part of Policy Number: W15F3F170401
   Syndicate 2623/623 at Lloyd's. Referred to in this endorsement as either the “Insurer” or the
   “Underwriters”

                            SCHEDULED LOCATIONS/FACILITIES COVERAGE

   This endorsement modifies insurance provided under the following:

   Miscellaneous Medical Professional Liability, General Liability and Advertising Liability Claims
   Made and Reported Insurance
   In consideration of the premium charged for the Policy, it is hereby understood and agreed that coverage
   under this Policy shall apply to the following facilities or locations scheduled below:



    Location Name                  Location Address                             Retroactive Date
    #1                             18708 Ocean Mist, Palm Beach, FL 33498       17 June 2013
    #2                             10607 Palm Spring Drive, Boca Raton, FL17    June      2013     -
                                   33428                                  Terminated: 30 June 2017
    #3                             9288 South Hampton Place, Boca Raton, FL17 June 2013
                                   33434
    #4                             6115 Lyons Road, Coconut Creek, FL 33073 12 December 2014
    #5                             9739 Majorca Place, Boca Raton, FL 33434     27 April 2015




   All other terms and conditions of this Policy remain unchanged.




                                                                __________________________________________
                                                                Authorized Representative




    E02867                                                                                      Page 1 of 1
    032015 ed.
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   Effective date of this Endorsement: 17-Jun-2017
   This Endorsement is attached to and forms a part of Policy Number: W15F3F170401
   Syndicate 2623/623 at Lloyd's. referred to in this endorsement as either the “Insurer” or the
   “Underwriters”

         ADDITIONAL INSURED ENDORSEMENT FOR LANDLORDS, SPONSORS OR LESSORS

   This endorsement modifies insurance provided under the following:


   Miscellaneous Medical Professional Liability, General Liability and Advertising Liability Claims
   Made and Reported Insurance

   In consideration of the premium charged for the Policy, it is hereby understood and agreed that with
   respect to General Liability coverage only:

   1.      Clause II. PERSONS INSURED is amended by the addition of the following:

           Any landlord, owner, or property manager of the Covered Location scheduled in paragraph 3.
           below; or any tradeshow or convention sponsor or operator; or any lessor of equipment
           scheduled in paragraph 2 below. However, coverage provided for purposes of this endorsement,
           shall apply solely:

            a.           to Claims first made and reported to the Insured during the Policy Period or any
                         Extended Reporting Period, if purchased;

            b.           for Claims arising out the Named Insured’s occupancy of, or failure to maintain the
                         Covered Location scheduled in paragraph 3. below, but solely with respect to the
                         products, goods or operations of the Named Insured and only if liability for such Claim is
                         determined to be solely the negligence or responsibility of the Named Insured; and

            c.           for Occurrences or Accidents at, on or upon that portion of the Covered Location which
                         is occupied by the Named Insured and taking place during the term of the Named
                         Insured’s lease/occupancy of such Covered Location scheduled in paragraph 3. below.

            Provided, however, that coverage afforded to the Additional Insured scheduled in paragraph 2.
            below shall not apply to:

                 (i)      Any Occurrence or Accident which takes place after the Named Insured ceases to be
                          a tenant in that premises;

                 (ii)     Structural alterations, new construction or demolition operations performed by or on
                          behalf of the Additional Insured scheduled in paragraph 2. below;

                 (iii)    Bodily Injury, Property Damage or Advertising Liability arising out of the sole
                          negligence of the Additional Insured, unless covered under paragraph b. above;

                 (iv)     Bodily Injury, Property Damage or Advertising Liability arising out of the claimed
                          negligence of the Additional Insured other than directly caused by the Named Insured’s
                          work in the ownership, maintenance or use of that part of the premises leased to the
                          Named Insured which shall be imputed to the Additional Insured scheduled in
                          paragraph 2. below; or

                 (v)      Bodily Injury, Property Damage or Advertising Liability to any employee of the
                          Named Insured or to any obligation of the Additional Insured scheduled in paragraph 2.
                          below, to indemnify another because of Damages arising out of such injury.


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   2.      Additional Insured:
           1. Time Payment Corp
             16 Northeast Executive Park, Suite # 200
             Burlington MA 01803
           2. 6115 Lyons Road
             Coconut Creek, FL 33073

   3.      Covered Locations:



   4.      In addition to the provisions of Clause XIX. CANCELLATION, in the event Underwriters cancel
           this Policy for any reason other than non-payment of premium, Underwriters will provide 30 Days
           written notice to the Additional Insured after notifying the Insured.
           However, this advance notification of pending cancellation of coverage is intended as a courtesy
           only. Underwriters’ failure to provide such advance notification will not extend the policy
           cancellation date nor negate cancellation of the policy.




   All other terms and conditions of this Policy remain unchanged.




                                                                __________________________________________
                                                                Authorized Representative




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   Effective date of this Endorsement: 17-Jun-2017
   This Endorsement is attached to and forms a part of Policy Number: W15F3F170401
   Syndicate 2623/623 at Lloyd's. referred to in this endorsement as either the “Insurer” or the
   “Underwriters”

                                      MEDICAL PAYMENTS EXTENSION

   This endorsement modifies insurance provided under the following:

   Miscellaneous Medical Professional Liability, General Liability and Advertising Liability Claims
   Made and Reported Insurance


   In consideration of the premium charged for the Policy, it is hereby understood and agreed that with
   respect to General Liability Coverage only:

   1.     The Underwriters will pay medical expenses as described below for Bodily Injury caused by an
          Accident:
          a.      On premises the Named Insured owns or rents;
          b.      On ways next to the premises the Named Insured owns or rents; or
          c.      Because of the Named Insured’s operations;
           Provided that:
          d.      The Accident takes place in the Coverage Territory and during the Policy Period;
          e.      The expenses are incurred and reported to the Underwriters within one year of the date
                  of the Accident;
          f.      The injured person submits to an examination, at Underwriters expense, by physicians of
                  Underwriters choosing as often as the Underwriters reasonably require.

          The Underwriters will make these payments regardless of fault. These payments will not exceed
          the applicable Limit of Liability in paragraph 2. below. Underwriters will pay reasonable expenses
          for:

                  a.        first aid administered at the time of the Accident;
                  b.        necessary medical, surgical, x-ray and dental services, including prosthetic
                            devices; and
                  c.        necessary ambulance, hospital, professional nursing and funeral services.

   2.     The Underwriters’ Limit of Liability for all Damages arising from any one Claim for medical
          expenses shall be $5,000 per Claim subject to a maximum Aggregate Limit of Liability under this
          policy of $25,000, which amounts shall be part of and not in addition to the Aggregate Limit of
          Liability set forth in Item 3.(b) of the Declarations. Solely with respect to any Claims for medical
          expenses, the Deductible of $10,000 applies separately for each and every Claim.

   3.     Clause IV. 2. EXCLUSIONS is amended by the addition of the following:

          The Underwriters will not pay expenses for Personal Injury:

          a.      To any Insured;




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           b.      To a person hired to do work for or on behalf of any Insured or a tenant of the Insured;

           c.      To a person injured on that part of the premises the Named Insured owns or rents that
                   the person normally occupies;

           d.      To a person, whether or not an Employee of any Insured, if benefits for the Personal
                   Injury are payable or must be provided under a workers’ compensation or disability
                   benefits law or a similar law;

           e.      To a person injured while taking part in athletics;

           f.      Due to war, whether or not declared, or any act or condition incident to war. War shall
                   include civil war, insurrection, rebellion or revolution;

           g.      Excluded under the Professional Liability Coverage; or

           h.      To any prisoner.



   All other terms and conditions of this Policy remain unchanged.




                                                                   __________________________________________
                                                                  Authorized Representative




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   Effective date of this Endorsement: 17-Jun-2017
   This Endorsement is attached to and forms a part of Policy Number: W15F3F170401
   Syndicate 2623/623 at Lloyd's. referred to in this endorsement as either the “Insurer” or the
   “Underwriters”


                     U.S. TERRORISM RISK INSURANCE ACT OF 2002 AS AMENDED
                                    NOT PURCHASED CLAUSE

   This endorsement modifies insurance provided under the following:

   Miscellaneous Medical Professional Liability, General Liability and Advertising Liability Claims
   Made and Reported Insurance

   This Clause is issued in accordance with the terms and conditions of the "U.S. Terrorism Risk
   Insurance Act of 2002" as amended as summarized in the disclosure notice.

   It is hereby noted that the Underwriters have made available coverage for Claims, Claims
   Expense and Cleanup Costs directly resulting from an "act of terrorism" as defined in the "U.S.
   Terrorism Risk Insurance Act of 2002", as amended (“TRIA”) and the Insured has declined or not
   confirmed to purchase this coverage.

   This Insurance therefore affords no coverage for Claims, Claims Expense or Cleanup Costs
   directly resulting from any "act of terrorism" as defined in TRIA except to the extent, if any,
   otherwise provided by this policy.

   All other terms, conditions, insured coverage and exclusions of this Insurance including applicable
   limits and deductibles remain unchanged and apply in full force and effect to the coverage provided
   by this Insurance.


   All other terms, exclusions and conditions of the policy remain unchanged.


   (LMA 5219)




                                                                 __________________________________________
                                                                 Authorized Representative




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   Effective date of this Endorsement: 17-Jun-2017
   This Endorsement is attached to and forms a part of Policy Number: W15F3F170401
   Syndicate 2623/623 at Lloyd's. Referred to in this endorsement as either the “Insurer” or the
   “Underwriters”

                 AMEND SEXUAL/PHYSICAL MISCONDUCT EXCLUSION WITH SUBLIMIT

   This endorsement modifies insurance provided under the following:

   Miscellaneous Medical Professional Liability, General Liability and Advertising Liability Claims
   Made and Reported Insurance

   In consideration of the premium charged for the Policy, it is hereby understood and agreed that

   1.      Item 3. of the Declarations is amended to include the following under the Professional Liability
           Coverage:
           $100,000        Sexual/Physical Misconduct Limit for Each Claim
           $300,000        Sexual/Physical Misconduct Annual Aggregate Limit
   2.      The Underwriters’ maximum aggregate limit of liability for all Damages and Claims Expenses
           resulting from all such Claims shall be as listed under paragraph 1. above which amount shall be
           part of and not in addition to the Aggregate Limit of Liability set forth in Item 3(b) of the
           Declarations. One deductible amount, as shown in Item 4 of the Declarations shall apply to any
           one Claim.

   3.      Clause IV. EXCLUSIONS 3.i. is deleted in its entirety and replaced with the following:

   (i)     to any Claim arising out of or resulting from:

           (1)     any conduct, physical act, gesture, or spoken or written words of a sexual or physically
                   violent nature by any Insured, including but not limited to, sexual intimacy (whether or
                   not consensual), sexual molestation, sexual act, sexual contact, sexual advances,
                   requests for sexual favors, sexual or physical assault or battery, sexual or physical
                   abuse, sexual harassment or exploitation, or other verbal or physical conduct of a sexual
                   nature; or

           (2)     the Insured’s actual or alleged negligent employment, investigation, supervision, hiring,
                   training or retention of any Employee, Insured or person for whom the Insured is legally
                   responsible and whose conduct falls within paragraph (1), above.

   However, this exclusion does not apply to:

           (3)     Any Specific Individual Insured who allegedly committed such misconduct, unless it is
                   judicially determined that the Specific Individual Insured committed the misconduct. If it
                   is judicially determined that the Specific Individual Insured committed the misconduct, we
                   will not pay Damages.

           (4)     Any other Insured, unless that Insured:

                   (i) knew or should have known about the misconduct allegedly committed by the
                       Specific Individual Insured, but failed to prevent or stop it; or




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                   (ii)    knew or should have known that the Specific Individual Insured who allegedly
                          committed the misconduct had a prior history of sexual or physical misconduct.

           Underwriters will defend Claims alleging such acts until final civil or criminal adjudication, as the
           case may be.

   As used in this exclusion, Specific Individual Insured includes employees and authorized volunteer
   workers while performing duties related to the conduct of the Insured’s business.



   All other terms and conditions of this Policy remain unchanged.



                                                                   __________________________________________
                                                                  Authorized Representative




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   Effective date of this Endorsement: 17-Jun-2017
   This Endorsement is attached to and forms a part of Policy Number: W15F3F170401
   Syndicate 2623/623 at Lloyd's. referred to in this endorsement as either the “Insurer” or the
   “Underwriters”

   ADDITIONAL NAMED INSUREDS SUBJECT TO RETROACTIVE DATE AND TERMINATION DATE

   This endorsement modifies insurance provided under the following:
   Miscellaneous Medical Professional Liability, General Liability and Advertising Liability Claims
   Made and Reported Insurance

   1. In consideration of the premium charged for the Policy, it is hereby understood and agreed that:
      Item 1. of the Declarations is amended to include the following listed in column A. below:

  A. Additional Named Insureds:       B. Retroactive Date:                 C. Termination Date:
  1. Last Resort Florida, LLC         17 June 2013                         01 January 2017

   2. Solely with respect to the Additional Named Insured listed in column A. above, the Retroactive Date
      in Item 6. of the Declarations is deleted in its entirety and replaced with the corresponding Retroactive
      Date in column B. above.

   3. Solely with respect to the Additional Named Insured listed in column A. above, coverage under this
      Policy shall only apply to Claims for any negligent act, error or omission, committed on or after the
      Retroactive Date set forth above in column B. and before the Termination Date set forth above in
      column C.




   All other terms and conditions of this Policy remain unchanged.


                                                                  __________________________________________
                                                                 Authorized Representative




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   Effective date of this Endorsement: 17-Jun-2017
   This Endorsement is attached to and forms a part of Policy Number: W15F3F170401
   Syndicate 2623/623 at Lloyd's. Referred to in this endorsement as either the “Insurer” or the
   “Underwriters”

   LLOYD’S SECURITY SCHEDULE

   Syndicate 2623         82%
   Syndicate 623          18%


   ALL OTHER TERMS, conditions and limitations of said Certificate shall remain unchanged.




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   MISCELLANEOUS MEDICAL PROFESSIONAL LIABILITY, GENERAL LIABILITY AND
   ADVERTISING LIABILITY CLAIMS MADE AND REPORTED INSURANCE

   NOTICE: This is a Claims Made and Reported Policy. Except to such extent as may otherwise
   be provided herein, the coverage afforded under this insurance policy is limited to those Claims
   which are first made against the Insured and reported to the Underwriters during the Policy
   Period. -Damages and Claims Expenses shall be applied against the Deductible. Certain
   words and phrases which appear in bold type have special meaning; please refer to Section V.,
   Definitions. -Please review the coverage afforded under this insurance policy carefully and
   discuss the coverage hereunder with your insurance agent or broker.

   In consideration of the payment of premium and reliance upon the statements, representations
   and warranties made in the application which is made a part of this insurance policy (hereinafter
   referred to as the “Policy” or “insurance”) and subject to the Limit of Liability, exclusions,
   conditions and other terms of this insurance, the Underwriters agree with the Named Insured
   (set forth in Item 1. of the Declarations, made a part hereof) as follows:

   I.     INSURING AGREEMENTS

          A.        Coverage

               1.    Professional Liability

                     The Underwriters will pay on behalf of the Insured Damages and Claims
                     Expenses which the Insured shall become legally obligated to pay because of
                     any Claim or Claims for Bodily Injury first made against any Insured during
                     the Policy Period and reported to the Underwriters during the Policy Period,
                     or any applicable Extended Reporting Period, arising out of any negligent act,
                     error or omission of the Insured in rendering or failing to render Professional
                     Services for others, on behalf of the Named Insured designated in Item 1. of
                     the Declarations, except as excluded or limited by the terms, conditions and
                     exclusions of this Policy.

               2.    General Liability and Advertising Liability

                     The Underwriters will pay on behalf of the Insured Damages and Claims
                     Expenses which the Insured shall become legally obligated to pay or
                     assumed by the Insured under contract because of any Claim or Claims first
                     made against any Insured during the Policy Period and reported to the
                     Underwriters during the Policy Period or any applicable Extended Reporting
                     Period, for Personal Injury, Property Damage or Advertising Liability
                     caused by an Accident, except as excluded or limited by the terms, conditions
                     and exclusions of this Policy.

          B.        Defense and Settlement

               1.    The Underwriters shall have the right and duty to defend the Insured, subject
                     to the Limit of Liability, for any Claim first made against the Insured seeking
                     payment under the terms of this insurance, even if any of the allegations of the
                     Claim are groundless, false or fraudulent. The Underwriters shall choose



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                   defense counsel in conjunction with the Insured, but in the event of a dispute,
                   the decision of the Underwriters is final.

             2.    It is agreed that the Limit of Liability available to pay Damages shall be
                   reduced and may be completely exhausted by payment of Claims Expenses.
                   Damages and Claims Expenses shall be applied against the Deductible set
                   forth in Item 4. of the Declarations.

             3.    The Underwriters shall have the right to make any investigation they deem
                   necessary, including, without limitation, any investigation with respect to
                   coverage and statements made in the application.

             4.    If the Insured refuses to consent to any settlement or compromise
                   recommended by the Underwriters and acceptable to the Claimant and elects
                   to contest the Claim, the Underwriters’ liability for any Damages and Claims
                   Expenses shall not exceed the amount for which the Claim could have been
                   settled, less the remaining Deductible, plus the Claims Expenses incurred up
                   to the time of such refusal, or the applicable Limit of Liability, whichever is less,
                   and the Underwriters shall have the right to withdraw from the defense of the
                   Claim by tendering control of said defense to the Insured.

             5.    Subject to the Limit of Liability of this Policy, the Underwriters shall pay all
                   premiums on bonds to release attachments, all premiums on appeal bonds
                   required in any such defended suit, but without any obligation to apply for or
                   furnish such bonds, all costs taxed against the Insured in any suit, all interest
                   accruing after entry of judgment until Underwriters have paid, tendered or
                   deposited in courts such part of such judgment as does not exceed the
                   Underwriters’ Limit of Liability.

             6     Subject to the Limit of Liability of this Policy, the Underwriters shall reimburse
                   the Insured for all reasonable expenses, other than loss of earnings, incurred
                   at the Underwriters’ request.

             7.    The Underwriters shall not be obligated to pay any Damages or Claims
                   Expenses, or to undertake or continue defense of any Claim after the
                   applicable Limit of Liability has been exhausted by payment of Damages or
                   Claims Expenses or after deposit of the remaining applicable Limit of Liability
                   in a court of competent jurisdiction, and that upon such payment, the
                   Underwriters shall have the right to withdraw from the further defense of the
                   Claim by tendering control of said defense to the Insured.

   II.    PERSONS INSURED

            Each of the following is an Insured under this insurance to the extent set forth below:

             (a)   if the Named Insured designated in Item 1. of the Declarations is an individual,
                   the person so designated but only with respect to the conduct of the business
                   of which he or she is the sole proprietor, and the spouse of the Named Insured
                   with respect to the conduct of such a business, and any Employee or volunteer
                   worker while acting within the scope of his or her duties as such;




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             (b)   if the Named Insured designated in Item 1. of the Declarations is a partnership
                   or joint venture, the partnership or joint venture so designated and any partner
                   or member thereof but only with respect to his or her liability as such and any
                   Employee or volunteer worker while acting within the scope of his or her duties
                   as such;

             (c)   if the Named Insured designated in Item 1. of the Declarations is other than an
                   individual, partnership or joint venture, the organization so designated and any
                   executive officer, director, stockholder, Employee, employed medical director,
                   administrator, volunteer worker, student, intern, or employed physician,
                   surgeon, osteopath, dentist, orthodontist, chiropractor, podiatrist, psychiatrist,
                   psychologist, nurse practitioner, physician assistant, CRNA, or midwife, thereof
                   while acting within the scope of his or her duties as such; provided, however,
                   that coverage is contingent on any such employed physician, surgeon,
                   osteopath,     dentist,   orthodontist, chiropractor,    podiatrist, psychiatrist,
                   psychologist, nurse practitioner, physician assistant, CRNA, or midwife, being
                   scheduled in Item 10. of the Declarations;

             (d)   any person who previously qualified as an Insured under (a), (b) or (c) above
                   prior to the termination of the required relationship with the Named Insured,
                   but solely with respect to:

                    (1) Professional Services performed on behalf of the Named Insured
                        designated in Item 1. of the Declarations, or

                    (2) an Accident arising solely out of the Named Insured’s operations

                    occurring prior to the termination of the required relationship with the Named
                    Insured;

             (e)   the estate, heirs, executor, administrators, assigns and legal representatives of
                   any Insured in the event of the Insured’s death, incapacity, insolvency or
                   bankruptcy, but only to the extent that such Insured would otherwise be
                   provided coverage under this Policy; and

             (f)   any independent contractor, vendor and/or agent of the Named Insured
                   scheduled in Item 10. of the Declarations as an Insured.

          This Policy shall not apply:

             (g)   to liability of an Insured, if an individual physician, surgeon, osteopath, dentist,
                   orthodontist, chiropractor, podiatrist, psychiatrist, psychologist, nurse
                   practitioner, physician assistant, CRNA, or midwife, for his or her personal acts,
                   errors or omissions outside the scope of work conducted for, or on behalf of,
                   the Named Insured; and

             (h)   to any liability arising out of the conduct of any partnership or joint venture of
                   which the Insured is a partner or member and which is not designated in this
                   Policy as a Named Insured.

   III.   TERRITORY



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          This insurance applies to negligent acts, errors, omissions or Accidents which take
          place anywhere in the world, provided the Claim is first made against the Insured within
          the United States of America, its possessions and territories, or Puerto Rico.

   IV.    EXCLUSIONS

          1.     Exclusions applicable to Insuring Agreement I.A.1, Professional Liability

          The coverage under this Policy does not apply to Damages or Claims Expenses
          incurred with respect:

          (a)      to any Claim arising out of Personal Injury, Property Damage or Advertising
                   Liability, except with respect to Bodily Injury arising out of any negligent act,
                   error or omission of any Insured in the rendering or failing to render
                   Professional Services;

          (b)      to any Claim arising out of any criminal, dishonest, fraudulent or malicious act,
                   error or omission of any Insured, committed with actual criminal, dishonest,
                   fraudulent or malicious purpose or intent. However, notwithstanding the
                   foregoing, the insurance afforded by this Policy shall apply to Claims Expenses
                   incurred in defending any such Claim, but shall not apply to any Damages which
                   the Insured might become legally obligated to pay;

          (c)      to any Claim arising out of or relating to any liability under any contract or
                   agreement, whether written or oral, unless such liability would have attached to
                   the Insured in the absence of such contract or agreement;

          (d)      to any Claim based upon an express or implied warranty or guarantee, or breach
                   of contract in respect of any agreement to perform work for a fee;

          (e)      to any Claim arising out of any Insured’s activities as a trustee, partner, officer,
                   director or Employee of any trust, charitable organization, corporation, company
                   or business other than that of the Named Insured;

          (f)      to any Claim arising out of failure to pay any bond, interest on any bond, any
                   debt, financial guarantee or debenture;

          (g)      to any Claim arising out of any financial or investment advice given, referrals,
                   warranties, guarantees or predictions of future performance made by any
                   Insured as regards specific and identifiable investment items including but not
                   limited to personal property, real property, stocks, bonds or securities;

          (h)      to any Claim arising out of the actual or alleged publication or utterance of libel
                   or slander or other defamatory or disparaging material, or a publication or
                   utterance in violation of an individual’s right to privacy;

          (i)      to any Claim arising out of actual or alleged plagiarism, misappropriation of
                   likeness, breach of confidence, or misappropriation or infringement of any
                   intellectual property right, including patent, trademark, trade secret, trade dress
                   and copyright.



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          2. Exclusions applicable to Insuring Agreement I.A.2, General Liability and
             Advertising Liability

          The coverage under this Policy does not apply to Damages or Claims Expenses
          incurred with respect:

          (a)    to any Claim arising out of the rendering of or failure to render Professional
                 Services by any Insured or by any person or organization for whose acts or
                 omissions the Named Insured is legally responsible;

          (b)    to any Claim arising out of Personal Injury or Property Damage resulting from
                 the use of force expected or intended from the standpoint of the Insured;
                 provided, however, this exclusion shall not apply to reasonable use of force by
                 the Insured;

          (c)    to any Claim for liability arising out of Personal Injury or Property Damage
                 arising out of ownership, maintenance, operation, use, loading or unloading of:

                 (1)    any Automobile, Aircraft or Watercraft owned or operated by or rented or
                        loaned to any Insured; or

                 (2)    any other Automobile, Aircraft or Watercraft operated by any person in
                        the course of his or her employment or volunteer duties for any Insured;

          (d)    to any Claim arising out of Personal Injury or Property Damage arising out of:

                 (1)    the ownership, maintenance, operation, use, loading or unloading of any
                        Mobile Equipment while being used in any prearranged or organized
                        racing, speed or demolition contest or in any stunting activity or in
                        practice or preparation for such contest or activity; or

                 (2)    the operation or use of any snowmobile, moped or motorized bicycle, or
                        trailer designed for use therewith;

          (e)    to any Claim for Personal Injury or Property Damage arising out of and in the
                 course of the transportation of Mobile Equipment by any Automobile owned or
                 operated by or rented or loaned to any Insured;

          (f)    to any Claim arising out of Personal Injury, Property Damage or Advertising
                 Liability for which the Insured or his or her indemnitee may be held liable:

                 (1)    as a person or organization engaged in the business of manufacturing,
                        distributing, selling, or serving alcoholic beverages; or
                 (2)    if not so engaged, as an owner or lessor of premises used for such
                        purposes, if such liability is imposed by, or because of the violation of,
                        any statute, ordinance or regulation pertaining to the sale, gift, distribution
                        or use of any alcoholic beverage;

          (g)    to any Claim arising out of Personal Injury to:




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                 (1)    any Employee or volunteer of the Named Insured arising out of and in
                        the course of his employment or retention by the Named Insured; or

                 (2)    the spouse, child, parent, brother or sister of the Employee as a
                        consequence of above. This exclusion applies:

                        (i)    whether the Insured may be liable as an employer or in any other
                               capacity; and

                        (ii)   to any obligation to share Damages with or repay someone else
                               who must pay Damages arising out of such liability;

          (h)    to any Claim arising out of Property Damage to:

                 (1)    property owned or occupied or rented to the Insured;

                 (2)    property used by the Insured; or

                 (3)    property in the care, custody or control of the Insured or as to which the
                        Insured is for any purpose exercising physical control;

          (i)    to any Claim arising out of Property Damage to premises owned or alienated by
                 the Named Insured arising out of such premises or any part thereof;

          (j)    to any Claim arising out of loss of use of tangible property which has not been
                 physically injured or destroyed resulting from:

                 (1)    a delay in or lack of performance by or on behalf of the Named Insured
                        of any contract or agreement; or

                 (2)    the failure of the Named Insured’s Products or work performed by or on
                        behalf of the Named Insured to meet the level of performance, quality,
                        fitness or durability warranted or represented by the Named Insured;

                 but this Exclusion does not apply to loss of use of the other tangible property
                 resulting from the sudden and accidental injury to or destruction of the Named
                 Insured’s Products or work performed by or on behalf pf the Named Insured
                 after such products or work have been put to use by any person or organization
                 other than the Insured;

          (k)    to any Claim arising out of Property Damage to the Named Insured’s
                 Products, or for the cost of inspecting, repairing or replacing any defective or
                 allegedly defective product or part thereof or for loss of use of any defective or
                 allegedly defective product;

          (l)    to any Claim arising out of Property Damage to work performed by or on behalf
                 of the Named Insured arising out of the work or any portion thereof, or out of
                 materials, parts or equipment furnished in connection therewith;




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          (m)    to any Claim arising out of the withdrawal, recall, inspection, repair, replacement
                 or loss of use of the Named Insured’s Products or work completed by or for the
                 Named Insured or of any property of which such products or work form a part, if
                 such products, work or property are withdrawn from the market or from use
                 because of any known or suspected defect or deficiency therein;

          (n)    to any Claim relating to Advertising Liability arising out of:

                 (1)    failure of performance of contract; provided, however, that this Exclusion
                        shall not apply to the unauthorized appropriation of ideas based upon
                        alleged breach of an implied contract;

                 (2)    infringement of patent, trademark, service mark, and trade name, other
                        than titles or slogans by use thereof on or in connection with goods,
                        products or services sold, offered for sale or advertised; or

                 (3)    incorrect description or mistake in advertised price of goods, products or
                        services sold, offered for sale or advertised.

          3. Exclusions applicable to both Insuring Agreements I.A.1., and I.A.2.,
             Professional Liability and General Liability and Advertising Liability

          The coverage under this Policy does not apply to Damages or Claims Expenses
          incurred with respect:

          (a)    to any Claim made by or against or in connection with any business enterprise
                 (including the ownership, maintenance or care of any property in connection
                 therewith), not named in the Declarations, which is owned by any Insured or in
                 which any Insured is a trustee, partner, officer, director or Employee;

          (b)    to any Claim arising out of the Employee Retirement Income Security Act of
                 1974 and its amendments or any regulation or order issued pursuant thereto;

          (c)    to any Claim or circumstance which might lead to a Claim in respect of which
                 any Insured has given notice to any insurer of any other policy or self-Insurance
                 in force prior to the effective date of this Policy;

          (d)    to any Claim or circumstance which might lead to a Claim known to any Insured
                 prior to the inception of this Policy and not disclosed to the Underwriters at
                 inception;

          (e)    to any Claim or circumstance that might lead to a Claim arising out of any
                 negligent act, error or omission or Accident which first took place, or is alleged
                 to have taken place, prior to the Retroactive Date as set forth in Item 6 of the
                 Declarations;

          (f)    to any Claim arising out of discrimination including but not limited to
                 discriminatory employment practices, allegations of actual or alleged violations of
                 civil rights or acts of discrimination based entirely or in part on the race, gender,
                 pregnancy, national origin, religion, age or sexual orientation;




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          (g)    to any Claim directly or indirectly arising out of:

                 (1)     the actual, alleged or threatened discharge, dispersal, release or escape
                         or failure to detect the presence of Pollutants, provided that this
                         Exclusion shall not apply to: (i) Personal Injury sustained by any patient,
                         visitor or invitee; and (ii) Personal Injury or Property Damage arising out
                         of heat, smoke or fumes from a Hostile Fire;

                 (2)     the manufacture, distribution, sale, resale, rebranding, installation, repair,
                         removal, encapsulation, abatement, replacement or handling of, exposure
                         to or testing for Pollutants contained in a product, carried on clothing,
                         inhaled, transmitted in any fashion or found in any form whatsoever; or

                 (3)     any governmental or regulatory directive or request that the Insured or
                         anyone acting under its direction or control to test for, monitor, clean up,
                         remove, contain, treat, detoxify or neutralize said Pollutants;

          (h)    to any Claim arising out of the insolvency or bankruptcy of any Insured or of any
                 other entity including but not limited to the failure, inability, or unwillingness to
                 pay Claims, losses or benefits due to the insolvency, liquidation or bankruptcy of
                 any such individual entity;

          (i)    to any Claim arising out of or resulting from:

                 (1)     any conduct, physical act, gesture, or spoken or written words of a sexual
                         or physically violent nature by any Insured, including but not limited to,
                         sexual intimacy (whether or not consensual), sexual molestation, sexual
                         or physical assault or battery, sexual or physical abuse, sexual
                         harassment or exploitation; or

                 (2)     the Insured’s actual or alleged negligent employment, investigation,
                         supervision, hiring, training or retention of any Employee, Insured or
                         person for whom the Insured is legally responsible and whose conduct
                         falls within paragraph (1), above.

          (j)    to any Claim for punitive or exemplary Damages, or Damages which are a
                 multiple of compensatory Damages, fines, sanctions, taxes or penalties, or the
                 return of or reimbursement for fees, costs or expenses charged by any Insured;

          (k)    to any Claim arising out of Personal Injury to any Employee or volunteer
                 worker of the Insured arising out of and in the course of his employment by the
                 Insured, or under any obligation for which the Insured or any carrier as his
                 insurer may be liable, under any Workers’ Compensation, Unemployment
                 Compensation, Disability Benefits Law or under any similar law;

          (l)    to any Claim based upon or arising out of a violation or alleged violation of the
                 Securities Act of 1933 as amended, or the Securities Exchange Act of 1934 as
                 amended, or any State Blue Sky or securities law or similar state of Federal
                 statute and any regulation or order issued pursuant to any of the foregoing
                 statutes;




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          (m)    to any Claim or actual or alleged violation of the Racketeer Influenced and
                 Corrupt Organizations Act, 18 U.S.C. §1961 et seq., and any amendments
                 thereto, or any rules or regulations promulgated thereunder;

          (n)    to any Claim arising from costs of complying with physical modifications to any
                 premises or any changes to the Insured’s usual business operations mandated
                 by the Americans with Disabilities Act of 1990, including any amendments, or
                 similar federal, state or local law;

          (o)    to any Claim caused directly or indirectly, in whole or in part, by:

                 (1)    any fungus(es) or spore(s);

                 (2)    any substance, vapour or gas produced by or arising out of any
                        fungus(es) or spore(s);

                 (3)    any materials, product, building component, building or structure that
                        contains, harbours, nurtures or acts as a medium for any fungus(es) or
                        spore(s);

                 (4)    any materials, product, building component, building or structure that
                        contains, harbors, nurtures or acts as a medium for any fungus(es) or
                        spore(s);

                 (5)    the actual, potential, alleged or threatened formation, growth, presence,
                        release or dispersal of any fungus(es), molds, spore(s) or mycotoxins of
                        any kind;

                 (6)    any action taken by any party in response to the actual, potential, alleged
                        or threatened formation, growth, presence, release or dispersal of any
                        fungus(es), molds, spores or mycotoxins of any kind, such action to
                        include investigating, testing for, detection of, monitoring of, treating,
                        remediating or removing such fungus(es), molds, spore(s) or mycotoxins;
                        or

                 (7)    any governmental or regulatory order, requirement, directive, mandate or
                        decree that any party take action in response to the actual, potential,
                        alleged or threatened formation, growth, presence, release or dispersal of
                        any fungus(es), molds, spores or mycotoxins of any kind.

                 regardless of any other cause, event, material, product and/or building
                 component that contributed concurrently or in any sequence to that injury or
                 Damages.

                 For the purposes of this Exclusion, the following Definitions are added:

                 “Fungus(es)” includes, but is not limited to, any form of mold, mushroom or
                 mildew.

                 “Spore(s)” mean any reproductive body produced by or arising out of any
                 fungus(es).




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                 This Exclusion shall not apply to Claims arising from medical research activities
                 that would otherwise be covered hereunder or to any Damages and Claims
                 Expenses which the Insured shall become legally obligated to pay in rendering
                 or failing to render Professional Services as stated in Item 11. of the
                 Declarations;

          (p)    to any Claim based upon or arising out of any action or proceeding brought by or
                 on behalf of any federal, state or local governmental, regulatory or administrative
                 agency, regardless of the name in which such action or proceeding is brought,
                 including, but not limited to, the Health Insurance Portability and Accountability
                 Act of 1996, the Social Security Act, 42 U.S.C. §1320a, et. seq., or similar state
                 or federal statute, regulation or executive order promulgated thereunder;

          (q)    to any Claim based upon or arising out of any Insured’s data processing,
                 including:

                 (1)    conversion of data from source material into media for processing on the
                        Insured’s electronic data processing system;

                 (2)    processing of data by the Insured on the Insured’s electronic data
                        processing system;

                 (3)    design or formulation of an electronic data processing program or system;

                 (4)    any liability arising from:
                        (i)     the failure of any program, instruction or data for use in any
                                computer or other electronic processing device, equipment or
                                system to function in the manner expected or intended;
                        (ii)    the transmission or receipt of any virus, program or code that
                                causes loss or damages to any computer system and /or prevents
                                or impairs its proper function or performance;
                        (iii)   unauthorized access to any computer system;


                        (iv)    the functioning, non-functioning, improperly functioning, availability
                                or unavailability of:
                                (a) the internet or similar facility; or
                                (b) any intranet or private network or similar facility; or
                                (c) any website, bulletin board, chat room, search engine, portal or
                                    similar third party application service;
                        (v)     the alteration, corruption, destruction, distortion, erasure, theft or
                                other loss of or damage to data, software, information repository,
                                microchip, integrated system or similar device in any computer
                                equipment or non-computer equipment or any kind of programming
                                or instruction set;




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                        (vi)   any     loss of use or functionality,  whether    partial   or entire,
                               of data, coding, program, software, any computer or computer
                               system or other device dependent upon any microchip or embedded
                               logic and any ensuing inability or failure of any insured to conduct
                               business;


                        (vii) any alteration, breach, corruption, destruction, or failure of any
                              computer, network systems or firewalls;
                        (viii) theft, loss, or unauthorized disclosure or access to personally
                               identifiable information including non-public personal information,
                               medical or healthcare information (including protected health
                               information) in the care, custody or control of the Insured or a third
                               party for whose such unauthorized disclosure or access the Insured
                               is legally liable, or violation of a privacy law protecting such
                               information, including any consequential liability (including any
                               failure to comply with any legislation requiring monitoring or
                               notification to any person affected by any of the above, or in respect
                               of any related regulatory proceeding or investigation); or
                        (ix)   theft, loss, or unauthorized disclosure or access to information
                               emanating from a third party that the Insured is required by
                               agreement to maintain confidential;
          (r)    to any Claim for Personal Injury, Property Damage or Advertising Liability
                 based upon or arising out of the Named Insured’s Products;

          (s)    to any Claim based upon the manufacture, handling, sale or distribution of
                 Phenylpropanolamine, Phenylpropanolamine Hydrochloride, PPA or any product
                 or drug containing any of these substances;

          (t)    to any Claim based on the willful non-compliance of any Insured with any Food
                 and Drug Administration (FDA) rules, regulations, and statutes found at Food and
                 Drugs, 21 C.F.R. Chapter 1 § 1.1 to § 1299, as amended and revised, or treating
                 a patient with any drugs, medical devices, biologics or radiation-emitting products
                 that have been disapproved or not yet approved by the FDA;

          (u)    to any Claim based upon or arising out of any Insured gaining any profit,
                 remuneration or advantage to which such Insured was not legally entitled;

          (v)    to any Claim against any subsidiary designated in the Declarations or its past,
                 present, or future Employees, directors, officers, trustees, review board or
                 committee members, or volunteers acting in his or her capacity as such, which
                 are based upon, arise out of, directly or indirectly result from, are in consequence
                 of, or in any way involve any fact, circumstance, situation, transaction, event,
                 Accident, or negligent acts, errors or omissions or series of facts,
                 circumstances, situations, transactions, events, Accidents or negligent acts,
                 errors or omissions happening before the date such entity became a subsidiary;

          (w)    to any Claim arising directly out of, or resulting from or in consequence of, or in
                 any way involving:




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                 (1)    asbestos or any materials containing asbestos in whatever form or
                        quantity;
                 (2)    the actual, potential, alleged or threatened presence, release or dispersal
                        of any asbestos;
                 (3)    any action taken by any party in response to the actual, potential or
                        threatened presence, release or dispersal of any asbestos particles of
                        any kind, such action to include investigating, testing for, detection of,
                        monitoring of, treating, remediating or removing such materials containing
                        asbestos;
                 (4)    any governmental or regulatory order, requirement, directive, mandate or
                        decree that any party take action in response to the actual, potential,
                        alleged or threatened presence, release or dispersal of any asbestos
                        containing particles of any kind;
                 (5)    any product, substance or waste which contains lead;
                 (6)    inhaling, ingesting or physical exposure to silica directly or through any
                        goods, products, structures, real estate or land containing silica;
                 (7)    the use or presence of silica in any process or operation of any type,
                        including but not limited to construction, manufacturing, sandblasting,
                        cleaning, drilling, farming or mining;
                 (8)    the use or presence of silica in any goods, products, structures, real
                        estate or land, or any component part of any good, product, structures,
                        real estate or land containing silica;
                 (9)    the manufacture, sale, transportation, handling, storage, or disposal of
                        silica or any goods, products, structures, real estate or land containing
                        silica;
                 (10)   disease actually or allegedly caused by, contributed to or aggravated by
                        silica, including but not limited to silicosis, chronic silicosis, accelerated
                        silicosis, acute silicosis, conglomerate silicosis, any auto-immune
                        disorder,     tuberculosis,    silicoproteinosis;    cancer,     scleroderma,
                        emphysema, pneumoconiosis, pulmonary fibrosis, progressive massive
                        fibrosis, any lung disease or any other ailment actually or allegedly
                        caused by, contributed to or aggravated by silica;
                 (11)   any costs of medical or other testing, monitoring or diagnosis arising from
                        or related to any actual, alleged, threatened or feared disease or injury,
                        including any emotional or mental distress, arising in whole or in part,
                        directly or indirectly, out of silica; or
                 (12)   any cost of investigations, feasibility studies, cleaning, removal or
                        remediation of the actual or alleged presence of silica in or on any goods,
                        products, structures, real estate or land;
                 For the purposes of this Exclusion, “silica” means any silica in the form of and
                 any of its derivatives, including but not limited to silica dust, silicon dioxide
                 (SiO2), crystalline silica, quartz, or non-crystalline (amorphous silica);

          (x)    to any Claim associated with implementation of any compliance program or any
                 policies, procedures or practices relating to participation as a provider of medical



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                 services to a managed care organization or under a healthcare benefit program,
                 whether initiated voluntarily or pursuant to direction by, order of, or in settlement
                 with a government body, hospital, healthcare facility or managed care
                 organization;

          (y)    to any Claim based upon or arising out of any actual or alleged violation of any
                 federal, state, or local anti-trust, restraint of trade, unfair competition, or price
                 fixing law, unfair or deceptive trade practices, or consumer protection any rules
                 or regulations promulgated thereunder; to the extent a Claim alleges both
                 professional negligence and any of the above excluded enumerated offenses,
                 Underwriters and the Insured will use their best efforts to reach a fair allocation
                 between covered and uncovered Damages;

          (z)    to any Claim based upon, arising out of, resulting from, any actual or alleged: (1)
                 failure to obtain, effect, or maintain any form, policy, plan or program of
                 insurance, stop loss or provider excess coverage, reinsurance, self-insurance,
                 suretyship, or bond; (2) commingling, mishandling of or liability to pay, collect or
                 safeguard funds; or (3) failure to collect or pay premiums, commissions,
                 brokerage charges, fees or taxes;

          (aa)   to any Claim for Personal Injury, Property Damage or Advertising Liability
                 due to war, whether or not declared, civil war, insurrection, rebellion or revolution
                 or to any act or condition incident to any of the foregoing;

          (ab)   to any Claim arising out of or relating to any loss, damage, or cost or expense of
                 whatsoever nature directly or indirectly caused by, resulting from happening
                 through, arising out of or in connection with any act of terrorism, regardless of
                 any other cause contributing concurrently or in any other sequence to the loss,
                 damage, cost or expense.

                 For the purpose of this Exclusion, terrorism means an act or threat of violence or
                 an act harmful to human life, tangible or intangible property or infrastructure with
                 the intention or effect to influence any government or to put the public or any
                 section of the public in fear. In any action, suit or other proceedings where the
                 Underwriters allege that by reason of this Exclusion, a loss, damage, cost or
                 expense in not covered by this Policy, the burden of proving that such loss,
                 damage, cost or expense is covered shall be upon the Insured.

                 In the event any portion of this Exclusion is found to be invalid or unenforceable,
                 the remainder shall remain in full force and effect;

          (ac)   to any Claim brought against any Insured by any other Insured hereunder;

          (ad)   to any Claim arising out of or resulting from the distribution of unsolicited email,
                 direct mail or facsimiles, or telemarketing;

          (ae)   to any Claim arising out of or resulting from any action or omission that violates
                 or is alleged to violate:

                 (1)    the Telephone Consumer Protection Act (TCPA);




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                 (2)    the CAN-SPAM Act of 2003;

                 (3)    the Fair Credit Reporting Act; or

                 (4)    any statute, ordinance or regulation, other than TCPA, CAN-SPAM Act of
                        2003 or the Fair Credit Reporting Act, that prohibits or limits the sending,
                        transmitting, communicating or distribution of material or information;

          (af)   to any Claim arising out of or resulting from the existence, emission or discharge
                 of any electromagnetic field, electromagnetic radiation or electromagnetism that
                 actually or allegedly affects the health, safety or condition of any person, or the
                 environment, or that affects the value, marketability, condition or size of any
                 property, provided this Exclusion shall not apply to any patient receiving
                 Professional Services.

   V.     DEFINITIONS

          Wherever used in this Policy, the bolded terms have the meaning provided:

          (a)    “Accident” means an event or happening, including continuous or repeated
                 exposure to substantially the same general harmful conditions, which involves
                 one or more persons or entities, and which results in Personal Injury, Property
                 Damage or Advertising Liability to such persons or entities.

          (b)    “Advertising Liability” means injury arising out of one or more of the following,
                 committed in the course of the Insured’s advertising activities:

                 (1)    libel, slander or defamation;

                 (2)    infringement of copyright, title slogan, trade dress, or advertising idea;

                 (3)    piracy or idea misappropriation under an implied contract; or

                 (4)    invasion of right of privacy, subject always to Exclusion IV.3.q.

          (c)    “Automobile” means a land motor vehicle, trailer or semi-trailer designed for
                 travel on public roads (including any machinery or apparatus attached thereto),
                 but does not include Mobile Equipment, as hereinafter defined.

          (d)    “Bodily Injury” means physical injury (including death at any time resulting
                 therefrom), mental injury, mental illness, mental anguish, humiliation, emotional
                 upset, shock, sickness, disease or disability.

          (e)    “Claim” means a written notice received by any Insured of an intention to hold
                 the Insured responsible for compensation for Damages, including the service of
                 suit or institution of arbitration proceedings against the Insured.

          (f)    “Claims Expenses” means:




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                 (1)    reasonable and customary fees charged by an attorney(s) designated
                        and agreed by the Underwriters in consultation with the Insured, but
                        subject always to the Underwriters’ final decision; and

                 (2)    all other fees, costs and expenses resulting from the investigation,
                        adjustment, defense and appeal of a Claim, if incurred by the
                        Underwriters, or by the Insured with the written consent of the
                        Underwriters.

                 Claims Expenses does not include any salary, overhead or other charges by the
                 Insured for any time spent in co-operating in the defense and investigation of
                 any Claim or circumstance which might lead to a Claim notified under this
                 insurance.

          (g)    “Damages” means a civil monetary judgment, award or settlement and does not
                 include:

                 (1)    the restitution of compensation and expenses paid to the Insured for
                        services and goods; and

                 (2)    judgments or awards deemed uninsurable by law.

          (h)    “Employee” means a person on the Insured’s regular payroll, with federal and,
                 if applicable, state taxes withheld, whose work is directed or controlled by the
                 Insured, including part-time and seasonal Employees and leased workers.
                 Employee does not include a temporary worker.

          (i)    “Extended Reporting Period”, if applicable, means the period of time after the
                 end of the Policy Period for reporting Claims, arising out of negligent acts,
                 errors or omissions or Accidents which take place prior to the end of the Policy
                 Period but subsequent to the Retroactive Date identified in Item 6 of the
                 Declarations.


                 “Hostile Fire” means a fire which becomes uncontrollable or breaks out from
                 where it was intended to be.

          (k)    “Mobile Equipment” means a land vehicle (including any attached machinery or
                 apparatus) whether or not self-propelled:

                 (1)    not subject to motor vehicle registration;

                 (2)    maintained for use exclusively on premises owned by or rented to the
                        Named Insured, including the ways immediately adjoining;

                 (3)    designed for use principally off public roads; or

                 (4)    designed or maintained for the sole purpose of affording mobility to
                        equipment of the following types forming an integral part of or
                        permanently attached to such vehicle:




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                            (i) power cranes, shovels, loaders, diggers and drills;

                            (ii) concrete mixers (other than the mix-in-transit type), graders,
                                 scrapers, rollers and on the road construction or repair equipment;

                            (iii) air-compressors, pumps and generators including spraying,
                                  welding and building cleaning equipment; or

                            (iv) geophysical exploration and well servicing equipment.

          (l)    “Named Insured” means the entity or person identified in Item 1. of the
                 Declarations.

          (m)    “Named Insured’s Products” means goods or products manufactured, sold,
                 handled or distributed by the Named Insured or by others trading under its
                 name, including any container thereof (other than a vehicle) but shall not include
                 a vending machine or any property, other than such container rented to or
                 located for use of others but not sold.

          (n)    “Personal Injury” means:

                 (1)    Bodily Injury;

                 (2)    false arrest, false imprisonment, wrongful eviction, detention or malicious
                        prosecution;

                 (3)    libel, slander, defamation of character or invasion of right of privacy,
                        unless arising out any advertising activities; or

                 (4)    wrongful eviction from, wrongful entry into, or invasion of the right of
                        private occupancy of a room, dwelling or premises that a person
                        occupies, committed by or on behalf of its owner, landlord or lessor.

          (o)    “Policy Period” means the period of time between the inception date and the
                 effective date of termination, expiration or cancellation of this insurance shown in
                 Item 2. of the Declarations and specifically excludes any Extended Reporting
                 Period.

          (p)    “Pollutants” means any solid, liquid, gaseous or thermal irritant or contaminant,
                 including but not limited to asbestos and/or lead (or products containing asbestos
                 and/or lead whether or not the asbestos and/or lead is or was at any time
                 airborne as a fibre or particle, contained in a product, carried on clothing, inhaled,
                 transmitted in any fashion or found in any form whatsoever), smoke, vapour, soot
                 fumes, acids, alkalis, toxic chemicals and waste (waste includes materials to be
                 recycled, reconditioned or reclaimed).

          (q)    “Professional Services” means those professional services specifically
                 identified in Item 11. of the Declarations.

          (r)    “Property Damage” means:




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                  (1)     physical injury to or destruction of tangible property, including
                          consequential loss of use thereof; or

                  (2)     loss of use of tangible property which has not been physically injured or
                          destroyed.

   VI.     LIMIT OF LIABILITY

           A.     The Limit of Liability stated in Item 3(a) of the Declarations as "Each Claim" is
                  the Underwriters’ Limit of Liability for all Damages and Claims Expenses arising
                  out of the same, related or continuing negligent acts, errors or omissions, or
                  arising out of the same or related or continuing Accidents without regard to the
                  number of Insureds, Claims or claimants. All Claims arising out of the same,
                  related or continuing negligent acts, errors or omissions, or arising out of the
                  same, related or continuing Accidents shall be deemed to be a single Claim.

           B.     The Limit of Liability stated in Item 3(b) of the Declarations as "Term Aggregate"
                  is the Underwriters’ Limit of Liability for all Damages and Claims Expenses
                  arising out of all Claims which are covered under the terms and conditions of this
                  Policy.

           C.     The Limit of Liability for any Extended Reporting Period shall be part of, and
                  not in addition to, the Underwriters’ Limit of Liability for the Policy Period.

   VII.    DEDUCTIBLE

           The Deductible amount stated in Item 4. of the Declarations shall be satisfied by
           payments by the Insured of Damages and/or Claims Expenses resulting from each
           Claim first made and reported to the Underwriters during the Policy Period and/or any
           applicable Extended Reporting Period as a condition precedent to the payment by the
           Underwriters of any amounts due hereunder. The Underwriters shall be liable only for
           the amounts in excess of such Deductible subject to the Underwriters' Limit of Liability in
           Item 3. of the Declarations. The Deductible is in addition to the Underwriters’ Limit of
           Liability and not part thereof. The Insured shall make direct payments within the
           Deductible to appropriate parties designated by the Underwriters. The Deductible is to
           be uninsured, unless otherwise agreed to by the Underwriters. Under no circumstances
           shall Underwriters be called upon to pay the Deductible, but the Underwriters may do so
           at their sole discretion. Such payment shall in no way affect the Underwriters’ ability to
           collect the Deductible from the Insured. The existence of “other insurance” shall not
           affect or abrogate the obligation of the Insured to pay the Deductible as required.

   VIII.   INNOCENT INSURED

           Whenever coverage under this insurance would be excluded, suspended or lost:

           A.    because of Exclusion IV 1. (b) or Exclusion IV 2. (b) relating to intentional, criminal,
                 dishonest, fraudulent or malicious acts, errors or omissions by any Insured, and
                 with respect to which any other Insured did not personally participate or personally
                 acquiesce or remain passive after having personal knowledge thereof; or




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          B.     because of non-compliance with any condition relating to the giving of notice to the
                 Underwriters with respect to which any other Insured shall be in default solely
                 because of the failure to give such notice or concealment of such failure by one or
                 more Insureds responsible for the loss or damage otherwise covered hereunder;

          the Underwriters agree that such insurance as would otherwise be afforded under this
          Policy shall be paid with respect to those Insureds who did not personally participate in
          committing or personally acquiesce in or remain passive after having personal
          knowledge of (a) one or more of the acts, errors or omissions described in any such
          exclusion; or (b) such failure to give notice, provided that the condition be one with which
          such Insured can comply, and after receiving knowledge thereof, the Insured entitled to
          the benefit of Section VIII. shall comply with such condition promptly after obtaining
          knowledge of the failure of any other Insured to comply therewith.

          With respect to this provision, the Underwriters' obligation to pay in such event shall be
          in excess of the full extent of any assets of any Insured to whom the exclusion applies
          and shall be subject to the terms, conditions and limitations of this Policy.

   IX.    EXTENDED REPORTING PERIOD

          A.      In the event of cancellation or non-renewal of this insurance, the Named Insured
                  designated in Item 1. of the Declarations shall have the right to an Extended
                  Reporting Period identified in Item 5. of the Declarations for Claims first made
                  against any Insured and reported to the Underwriters during the Extended
                  Reporting Period, subject to the conditions set forth in the definition of
                  Extended Reporting Period herein. In order for the Named Insured to invoke
                  the Extended Reporting Period option, the payment of the additional premium
                  set forth in Item 5(b) of the declarations for the Extended Reporting Period
                  must be paid to the Underwriters within 30 days of the non-renewal or
                  cancellation.

          B.      The Limit of Liability for the Extended Reporting Period shall be part of, and not
                  in addition to, the Underwriters’ Limit of Liability for the Policy Period.

          C.      The quotation by the Underwriters of a different premium or Deductible or Limit of
                  Liability or changes in Policy language for the purpose of renewal shall not
                  constitute a refusal to renew by the Underwriters.

          D.      The right to the Extended Reporting Period shall not be available to the Named
                  Insured where cancellation or non-renewal by the Underwriters is due to
                  non-payment of premium or failure of an Insured to pay such amounts in excess
                  of the applicable Limit of Liability or within the applicable Deductible.

          E.      All notices and premium payments with respect to the Extended Reporting
                  Period shall be directed to the Underwriters through the entity named in Item 8.
                  of the Declarations.

          F.      At the commencement of the Extended Reporting Period, the entire premium
                  shall be deemed earned, and in the event the Named Insured terminates the
                  Extended Reporting Period for any reason prior to its natural expiration, the




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                 Underwriters will not be liable to return any premium paid for the Extended
                 Reporting Period.

   X.     OTHER INSURANCE

          This insurance shall apply in excess of any other valid and collectible insurance or
          self-insurance available to any Insured, unless such other insurance is written only as
          specific excess insurance over the Limit of Liability of this Policy.

   XI.    NOTICE OF CLAIM, OR CIRCUMSTANCE THAT MIGHT LEAD TO A CLAIM

          A.     If any Claim is made against the Insured, the Insured shall forward as soon as
                 practicable to the Underwriters through persons named in Item 9. of the
                 Declarations written notice of such Claim and forward every demand, notice,
                 summons or other process received by the Insured or its representative. In no
                 event shall the Underwriters be given notice of a Claim later than the end of the
                 Policy Period, the end of the purchased Extended Reporting Period, or thirty
                 (30) days after the expiration date of the Policy Period in the case of Claims
                 first made against the Insured during the last thirty (30) days of the Policy
                 Period. The Insured’s duty to provide notice in accordance with this provision is
                 a condition precedent to coverage.

          B.     If during the Policy Period the Insured first becomes aware of a negligent act,
                 error or omission or an Accident that could lead to a Claim, it must give written
                 notice to the Underwriters through persons named in Item 9. of the Declarations
                 during the Policy Period of:

                 (1)    the specific, negligent act, error, or omission, or Accident;

                 (2)    the injury or damage which may result or has resulted from the negligent
                        act, error, or omission or Accident; and

                 (3)    the circumstances by which the Insured first became aware of the
                        negligent act, error or omission or Accident.

                 Any subsequent Claim made against the Insured which is the subject of the
                 written notice shall be deemed to have been made at the time written notice was
                 first given to the Underwriters.
          C      A Claim or circumstance that might lead to a Claim shall be considered to be
                 reported to the Underwriters when notice is received by the Underwriters through
                 persons named in Item 9. of the Declarations.

          D.     All Claims arising out of the same, continuing or related negligent act, error or
                 omission or arising out of the same, continuous or related Accident shall be
                 considered a single Claim and deemed to have been made at the time the first of
                 the related Claims is reported to the Underwriters. Such related Claims shall be
                 subject to one Limit of Liability identified in Item 3(a) of the Declarations.

          E.     In the event of non-renewal of this insurance by the Underwriters, the Insured
                 shall have thirty (30) days from the expiration date of the Policy Period to notify




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                  the Underwriters of Claims made against the Insured during the Policy Period
                  which arise out of any negligent act, error or omission or Accident occurring
                  prior to the termination date of the Policy Period and otherwise covered by this
                  insurance.

           F.     If any Insured shall make any Claim under this Policy knowing such Claim to be
                  false or fraudulent, as regards amount or otherwise, this Policy shall become null
                  and void and all coverage hereunder shall be forfeited.

   XII.    ASSISTANCE AND CO-OPERATION OF THE INSURED

           The Insured shall co-operate with the Underwriters in all investigations, including
           regarding the application and coverage under this Policy, and upon the Underwriters'
           request, assist in making settlements, in the conduct of suits and in enforcing any right of
           contribution or indemnity against any person or organization other than an Employee of
           any Insured who may be liable to the Insured because of negligent acts, errors or
           omissions or Accidents with respect to which insurance is afforded under this Policy.
           The Insured shall attend hearings and trials and assist in securing and giving evidence
           and obtaining the attendance of witnesses. The Insured shall not, except at its own cost,
           admit liability, make any payment, assume any obligation, incur any expense, enter into
           any settlement, stipulate to any judgment or award or otherwise dispose of any Claim
           without the consent of the Underwriters.

   XIII.   ACTION AGAINST THE UNDERWRITERS

           No action shall lie against the Underwriters unless, as a condition precedent thereto,
           there has been full compliance with all terms of this insurance, nor until the amount of
           the Insured's obligation to pay shall have been finally determined either by judgment or
           award against the Insured after actual trial or arbitration or by written agreement of the
           Insured, the claimant and the Underwriters. No person or organization shall have any
           right under this insurance to join the Underwriters as a party to an action or other
           proceeding against the Insured to determine the Insured's liability, nor shall the
           Underwriters be impleaded by the Insured or its legal representative.

   XIV.    BANKRUPTCY

           Bankruptcy or insolvency of the Insured or of the Insured's estate shall not relieve the
           Underwriters of their obligations hereunder.

   XV.     SUBROGATION

           In the event of any payment under this insurance, the Underwriters shall be subrogated
           to all the Insured's rights of recovery against any person or organization, and the
           Insured shall execute and deliver instruments and papers and do whatever else is
           necessary to secure such rights. The Insured shall do nothing before or after the
           payment of Damages by the Underwriters to prejudice such rights.

   XVI.    CHANGES

           Notice to any agent or knowledge possessed by any agent or by any other person shall
           not effect a waiver or a change in any part of this insurance or estop the Underwriters



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           from asserting any right under the terms of this insurance; nor shall the terms of this
           insurance be waived or changed, except by endorsement issued to form a part of this
           insurance, signed by the Underwriters.

   XVII.   MERGERS AND ACQUISITIONS

           A.     If during the Policy Period, the Named Insured mergers or acquires an entity
                  and

                  (1)     the revenues of the merged or acquired entity do not exceed 10% of the
                          Named Insured’s annual revenues as set forth in its most recent
                          application for insurance;

                  (2)     the business operations of the merged or acquired entity are of a similar
                          nature to those of the Named Insured as set forth in its most recent
                          application for insurance; and

                  (3)     the merged or acquired entity is located in the same state as the Named
                          Insured or any subsidiary,

                  then this Policy will automatically cover the merged or acquired entity, subject to
                  the policy terms, conditions and limitations, from the date such merger or
                  acquisition becomes final but only for negligent acts, errors or omissions or
                  Accidents that take place subsequent to the merger or acquisition. In the event
                  the total amount of revenues of all merged and acquired entities during the
                  Policy Period exceed 10% of the Named Insured’s annual revenues as set
                  forth in its most recent application for insurance, the above provision shall no
                  longer apply and any further mergers or acquisitions will be subject to Paragraph
                  B., below.

           B.     In the event during the Policy Period the Named Insured mergers or acquires
                  an entity that does not fall within the criteria detailed in Paragraph A. above, or
                  where Paragraph A. above no longer applies by virtue of the provision contained
                  in the last sentence of Paragraph A. above, then the Named Insured shall be
                  required to give written notice to the Underwriters prior to the completion of a
                  merger or acquisition of the Named Insured, and the Underwriters expressly
                  reserve the right to request additional premium and/or to apply amended terms
                  and conditions if this insurance is to remain in force subsequent to any merger or
                  acquisition.

   XVIII. ASSIGNMENT

           The interest hereunder of any Insured is not assignable. If the Insured shall die or be
           adjudged incompetent, this insurance shall cover the Insured's legal representative as
           the Insured, as would be permitted by this Policy.


   XIX.    CANCELLATION
           This Policy may be cancelled by the Named Insured or by the Underwriters by sending
           registered or certified mail notice to the other party stating when, not less than 60 days




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           thereafter, cancellation shall be effective. However in the event of non-payment of
           premium by the Named Insured, this Policy may be cancelled by the Underwriters by
           sending registered or certified mail notice to the Named Insured stating when, not less
           than ten days thereafter, cancellation shall be effective. The mailing of notice as
           aforesaid by the Underwriters shall be sufficient proof of notice, and the insurance under
           this Policy shall end on the effective date and hour of cancellation stated in the notice.
           Delivery of such written notice either by the Named Insured or by the Underwriters shall
           be equivalent to mailing.

           In the event this Policy is cancelled, as aforesaid, the expiration date of this Policy shall
           be the effective date of such cancellation.

           If this Policy shall be cancelled by the Named Insured, the Underwriters shall retain the
           short rate proportion of the premium for the period this Policy has been in force,
           calculated in accordance with the Short Rate Cancellation Table on file with the
           Underwriters. If this Policy shall be cancelled by the Underwriters, the Underwriters shall
           retain the pro rata proportion of the premium for the period this Policy has been in force.
           Notice of cancellation by the Underwriters shall be effective even though the
           Underwriters make no payment or tender of return premium with such notice.

   XX.     SINGULAR FORM OF A WORD

           Whenever the singular form of a word issued, herein, the same shall include the plural
           when required by context.

   XXI.    ENTIRE CONTRACT

           By acceptance of this Policy, the Insured agrees that the statements in the Declarations
           and application are his or her agreements and representations, that this insurance is
           issued in reliance upon the truth of such representations and that this Policy embodies
           all agreements existing between the Insured and the Underwriters relating to this
           insurance.

   XXII.   NUCLEAR INCIDENT EXCLUSION

           The insurance provided by this Policy does not apply:

           A.     To injury sickness, disease, death or destruction

                  (1)       with respect to which an Insured under this Policy of insurance is also
                            an Insured under a nuclear energy liability insurance issued by Nuclear
                            Energy Liability Insurance Association, Mutual Atomic Energy Liability
                            Underwriters or Nuclear Insurance Association of Canada or would be
                            an Insured under any such insurance but for its termination upon
                            exhaustion of its limits of liability; or

                  (2)       resulting from the hazardous properties of nuclear material and with
                            respect to which (i) any person or organization is required to maintain
                            financial protection pursuant to the Atomic Energy Act of 1954, or any
                            law amendatory thereof, or (ii) the Insured is, or had this insurance not
                            been issued would be, entitled to indemnity from the United States of



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                          America, or any agency thereof under any agreement entered into by
                          the United States of America, or any agency thereof, with any person or
                          organization.

          A.     Under any Medical Payments Coverage, or under any Supplementary Payments
                 Provision relating to immediate medical or surgical relief, to expenses incurred
                 with respect to bodily injury, sickness, disease or death resulting from the
                 hazardous properties of nuclear material and arising out of the operation of a
                 nuclear facility by any person or organization.

          B.     To injury, sickness, disease, death or destruction resulting from the hazardous
                 properties of nuclear material, if

                 (1)    the nuclear material (i) is at any nuclear facility owned by, or operated by
                        or on behalf of, an Insured or (ii) has been discharged or dispersed there
                        from;

                 (2)    the nuclear material is contained in spent fuel or waste at any time
                        possessed, handled, used, processed, stored, transported or disposed of
                        by or on behalf of an Insured; or

                 (3)    the injury, sickness, disease, death or destruction arises out of the
                        furnishing by an Insured of services, materials, parts or equipment in
                        connection with the planning, construction, maintenance, operation or use
                        of any nuclear facility, but if such facility is located within the United
                        States of America, its territories or possessions or Canada, this exclusion
                        (3) applies only to injury to or destruction of property at such nuclear
                        facility.

          C.     As used in this Section: "hazardous properties" include radioactive, toxic or
                 explosive properties; "nuclear material" means source material, special nuclear
                 material or by-product material; "source material", "special nuclear material" and
                 "by-product material" have the meanings given them in the Atomic Energy Act of
                 1954 or in any law amendatory thereof, "spent fuel" means any fuel element or
                 fuel component, solid or liquid, which has been used or exposed to radiation in a
                 nuclear reactor; "waste" means any waste material (i) containing by-product
                 material and (ii) resulting from the operation by any person or organization of any
                 nuclear facility under paragraph (1) or (2) thereof; "nuclear facility" means

                 (1)    any nuclear reactor;

                 (2)    any equipment or device designed or used for (i) separating the isotopes
                        of uranium or plutonium, (ii) processing or utilizing spent fuel, or (iii)
                        handling, processing or packaging waste;

                 (3)    any equipment or device used for the processing, fabricating or alloying of
                        special nuclear material if any time the total amount of such material in
                        the custody of the Insured at the premises were such equipment or
                        device is located consists of or contains more than 25 grams of plutonium
                        or uranium 233 of any combination thereof, or more than 250 grams of
                        uranium 235; or



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                 (4)    any structure, basin, excavation, premises or place prepared or used for
                        the storage or disposal of waste;

                 and includes the site on which any of the foregoing is located, all operations
                 conducted on such site and all premises used for such operations; "nuclear
                 reactor" means any apparatus designed or used to sustain nuclear fission in
                 self-supporting chain reaction or to contain a critical mass of fissionable material.
                 With respect to injury to or destruction of property, the word "injury" or
                 "destruction" includes all forms or radioactive contamination of property.

                 It is understood and agreed that, except as specifically provided in the foregoing
                 to the contrary, this Section is subject to the terms, exclusions, conditions and
                 limitations of the insurance to which it is attached.

   XXIII. SERVICE OF SUIT

          A.     It is agreed that in the event of the failure of the Underwriters hereon to pay any
                 amount claimed to be due under this insurance, the Underwriters hereon, at the
                 request of the Named Insured, will submit to the jurisdiction of a court of
                 competent jurisdiction within the United States. This Condition does not
                 constitute and should not be understood to constitute an agreement by the
                 Underwriters that an action is properly maintained in a specific forum, nor may it
                 be construed as a waiver of the Underwriters' rights to commence an action in a
                 court of competent jurisdiction in the United States, to remove an action to a
                 United States District Court, or to seek a transfer of a case to another court as
                 permitted by the laws of the United States or of any state of the United States, all
                 of which rights the Underwriters expressly reserve. It is further agreed that
                 service of process in such suit may be made upon the designated entity in Item
                 7. of the Declarations, and that in any suit instituted against any one of them
                 upon this contract, the Underwriters will abide by the final decision of such court
                 in the event of an appeal.

          B.     The Entity designated in Item 7. of the Declarations is authorized and directed to
                 accept service of process on behalf of the Underwriters in any such suit and/or
                 upon the request of the Named Insured to give written undertaking to the
                 Named Insured that they will enter a general appearance upon Underwriters'
                 behalf in the event such a suit shall be instituted. Further, pursuant to any statute
                 of any state, territory or district of the United States which makes provision
                 therefore, the Underwriters hereon hereby designate the Superintendent,
                 Commissioner or Director of Insurance or other officer specified for that purpose
                 in the statute or his successor or successors in office, as his or her true and
                 lawful attorney upon whom may be served any lawful process in any action, suit
                 or proceedings instituted by or on behalf of the Named Insured or any
                 beneficiary hereunder arising out of this contract of insurance, and hereby
                 designates the Entity, designated in Item 7. of the Declarations, as the person to
                 whom the said officer is authorized to mail such process or a true copy thereof.

   XXIV. CHOICE OF LAW




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          Any dispute involving this Policy shall be resolved by applying the law of the state
          designated in Item 12. the Declarations.

   XXV. SEVERAL LIABILITY

          The subscribing Underwriters’ obligations under contracts of insurance to which they
          subscribe are several and not joint and are limited solely to the extent of his or her
          individual subscriptions. The subscribing Underwriters are not responsible for the
          subscription of any co subscribing Underwriter who for any reason does not satisfy all or
          part of its obligations.

   XXVI. LICENSURE

          A.     It is a condition of the coverage afforded under the Policy that the facilities of the
                 Named Insured and any Insured requiring a license to practice shall be licensed
                 in accordance with all relevant federal, state and local requirements. The Named
                 Insured warrants that as of the inception date of this Policy it has secured all
                 relevant licenses.

          B.     If, during the Policy Period, any Insured’s licensure status is altered by
                 withdrawal, revocation, denial, suspension or failure to renew, the Named
                 Insured shall give written notice of such change to the Underwriters within thirty
                 days of the change becoming effective. Following receipt of such notice, the
                 Underwriters may elect, at their sole option, to revise any Insuring Agreements.
                 Definitions, Exclusions, Endorsements or other Conditions of this Policy with
                 respect to the Insured, with effect from such date of such withdrawal, revocation,
                 denial, suspension or failure to renew. Such action does not waive the
                 Underwriters’ option to invoke the provisions of Section XIX. of this Policy.
                 Furthermore, the Underwriters will have no obligation to respond to any Claim
                 arising out of Professional Services or an Accident which took place
                 subsequent to the date the of withdrawal, revocation, denial, suspension or
                 failure to renew.




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